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         ORDERED in the Southern District of Florida on February 24, 2022.




                                                     Mindy A. Mora, Judge
                                                     United States Bankruptcy Court
_____________________________________________________________________________



                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                   www.flsb.uscourts.gov

        In re:                                       Case No.: 21-10643-MAM
                                                     Chapter 13
        Charlotte Lockhart,

              Debtor.
        _____________________________/

         ORDER SANCTIONING (I) ATTORNEY BRIAN J. COHEN, (II) ATTORNEY
               JOSH ARTHUR, AND (III) THE COHEN LAW FIRM, P.A.

                 THIS MATTER came before the Court on February 1, 2022, at 11:00 a.m. (the

        “Show Cause Hearing”) upon the Order Directing Attorney Brian J. Cohen and the

        Cohen Law Firm, P.A. to Show Cause Why Sanctions Should Not Be Imposed (ECF

        No. 52) (the “Show Cause Order”). Attorney Brian J. Cohen (“Cohen”) and Debtor

        attended the Show Cause Hearing.

                                          BACKGROUND

                 The Show Cause Order directed Cohen and the Cohen Law Firm, P.A. (the
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“Cohen Firm”) to show cause why they should not be sanctioned for failing to properly

represent Debtor’s interests in this Bankruptcy Case.1 Statements on the record by

Attorney Josh Arthur (“Arthur”),2 Cohen, and Debtor at prior hearings caused the

Court to question whether any attorney at the Cohen Firm obtained Debtor’s consent

prior to filing the first amended plan (ECF No. 22) (the “Amended Plan”).3 The Court

was troubled by Debtor’s claims that she was unaware of the Amended Plan until

after confirmation and simply could not afford the confirmed plan payments.4 Once

the Court reviewed the Amended Plan, the Court also became concerned that Debtor’s

disposable income may have been improperly calculated.

         After soliciting detailed information from Arthur, Cohen, and Debtor, the

Court issued the Show Cause Order. The Show Cause Order included citations to two

cases addressing the proper extent to which a debtor’s non-filing spouse’s income is

included in the calculation of a debtor’s disposable income. See In re Quarterman, 342

B.R. 647 (Bankr. M.D. Fla. 2006) and In re Campbell, Case No. 17-25246-LMI, 2019

WL 722759 (Bankr. S.D. Fla. Feb. 15, 2019). Because Quarterman and Campbell are

not binding upon this Court, the Show Cause Order directed submission of additional

relevant case law on the calculation issue.


1The Court directed issuance of the Show Cause Order to Cohen in his capacity as the named partner
of the Cohen Firm and as the signatory on the Amended Plan.
2Arthur is an associate at the Cohen Firm and was responsible for Debtor’s representation at various
court hearings.
3   The hearings occurred on November 16, 2021 and December 21, 2021.
4Debtor consistently represented to the Court that she informed the Cohen Firm she could not pay in
excess of $1,800 per month. The Amended Plan provided for Phase Two Plan Payments of $2,576.35
per month.


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          Cohen admitted that he did not review Quarterman or Campbell prior to the

Show Cause Hearing. He also acknowledged that he had not performed or obtained

any additional case law research to support his calculations for Debtor’s Statement

of Current Monthly Income and Calculation of Commitment Period (ECF No. 13,

Official Form 122C-1) (“SMI”), Schedule J, or the Amended Plan. Although Cohen

described the method by which he arrived at his calculations, he failed to do so in the

context of prior case law. As a result, none of Cohen’s representations or arguments

addressed the Court’s concerns regarding the applicability of Quarterman and

Campbell to Debtor’s Bankruptcy Case.

                                          ANALYSIS

          The computation of Debtor’s current monthly income did not follow the

methodology described in Quarterman and Campbell. Because Cohen’s calculation

failed to limit spousal income to only that portion of the non-debtor spouse’s income

used for household expenses, Debtor’s monthly income was overstated. Arthur and

Cohen’s subsequent failure to discuss increased plan payments with Debtor and

obtain her signature prior to filing the Amended Plan compounded and cemented the

error.5

          Calculation Issues

          Debtor’s SMI included her non-filing spouse’s entire monthly income but only

subtracted two monthly payments for which Debtor’s non-filing spouse was solely




5Debtor stated that she was rarely able to speak with an attorney at the Cohen Law Firm and instead
dealt almost exclusively with paraprofessionals in her attempts to communicate regarding her case.


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responsible.6 This calculation created an inaccurate impression of available funds.

Debtor’s SMI did not specify the portion of spousal income that was not regularly

allocated to Debtor’s household expenses.7 Debtor’s Schedule J likewise failed to

distinguish which household expenses were regularly paid by Debtor’s non-filing

spouse to justify the inclusion of Debtor’s spouse’s entire income in the computation

of Debtor’s current monthly income.8

          The end result of these calculation errors was that Debtor appeared to have

significant untapped monthly income available for plan payments. This appearance

led the Chapter 13 Trustee to object to confirmation absent modification of Debtor’s

plan to increase the payments made for the benefit of unsecured creditors. In

response to the Chapter 13 Trustee’s objections, Arthur submitted the Amended Plan.

          The Amended Plan increased Debtor’s Phase Two Plan Payments by $581.45,

resulting in payments of $2,576.35 for months 6 to 60. This amount exceeded the

Debtor’s actual ability to pay based upon her current monthly income, even taking

into account any appropriate spousal contribution. See ECF No. 33, at 2; see also

Quarterman, 342 B.R. at 651 (“[B]ased upon the explicit language of section 101(10A),

current monthly income does not include all the income of the non-debtor spouse, but

rather only amounts expended on a regular basis for household expenses. If income


6 See ECF No. 13, at p. 2, line 12 (total average monthly income, including spouse’s full monthly
income), line 13 (itemizing and totaling two expenses attributable to spouse), and line 14 (subtracting
line 13 from line 12).
7   ECF No. 13 at p. 2 (¶ 13 “Calculate the marital adjustment”).
8Quarterman, 342 B.R. at 650-51; Campbell, 2019 WL 722759 at *2. Schedule J itemizes two expenses
attributable to Debtor’s spouse, but those expenses likely did not fall within the definition of
“household expenses”. ECF No. 12, p. 34 (¶ 17).


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is not (1) expended regularly (2) on household expenses, then it is not included in the

debtor's current monthly income.”) (emphasis in original); Campbell, 2019 WL

722759 at *2 (“[T]he income of the Debtor’s non-filing spouse is included in calculating

the Debtor’s CMI to the extent her income is used on a regular basis for household

expenses.”)

       At this point, two unfortunate things occurred in tandem. First, Arthur and

Cohen both failed to communicate with Debtor prior to submission of the Amended

Plan to obtain her authorization, and, second, via confirmation of the Amended Plan,

the increased payments became binding upon Debtor despite her lack of knowledge

or express consent.9 This confluence of events would not have occurred if Arthur,

Cohen, and the Cohen Firm had complied with the requirements of Local Rule 9011-

1(C). The fact that the Cohen Firm failed to communicate with Debtor about the

Amended Plan and nonetheless submitted the Amended Plan for confirmation leads

the Court to its next consideration, which is the absence of Debtor’s signature upon

the Amended Plan.

       Signature Issues

       Section 1322(a) of the Bankruptcy Code provides that “[t]he debtor may modify

the plan at any time before confirmation….” 11 U.S.C. § 1322(a) (emphasis added).

Local Rule 9011-1 sets forth procedures for filing documents with electronic

signatures and provides, among other things, that a debtor’s attorney must: (i) verify



9 The Court accepts Cohen’s representations on the record as an officer of the Court that no
communication with Debtor occurred to ensure her consent to the Amended Plan prior to its filing,
and that Debtor’s actual signature on the Amended Plan was never actually obtained.


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that the signer received the entire document(s) to be signed; (ii) communicate with

the signer regarding the substance and purpose of the signed documents; (iii) receive

back from the signer and be in possession of the entire document, including the

signature page, which must contain either a digital or scanned image of the signed

document; and (iv) obtain express authorization from the signer to file the document.

While neither § 1322(a) nor Local Rule 9011-1 expressly state that an amended plan

must contain a debtor’s signature, both the Code provision and the Local Rule

contemplate filing plan documents with the debtor’s full knowledge and consent.10

That did not happen here.

       Cohen stated that, in filing the Amended Plan, the Cohen Firm relied upon a

limited power of attorney (the “POA”) contained in Debtor’s engagement letter (the

“Engagement Letter”). Cohen and the Cohen firm asserted that the existence of the

POA and the exigencies of the situation allowed filing the Amended Plan without

Debtor’s knowledge or consent to the modification of the monthly plan payments.11

       In his attempts to justify the actions of the Cohen Firm and its attorneys,

Cohen contended that the POA facilitated protection of his clients’ interests by

permitting filing of documents on an expedited basis when necessary. Cohen

downplayed the absence of explicit consent to the plan changes by pointing out that




10At the Show Cause Hearing, Cohen suggested that Local Rule 9011-1 should be restricted solely to
the documents listed in subsection (A). Even if the Court were to accept that subsection A contains
language of exclusion rather than illustrative non-limiting examples, the plain language of Local Rule
9011-1(A) includes “amendments”. Certainly the Amended Plan would qualify under that term.
11The debtor signature line on the Amended Plan was blank, and Cohen’s electronic signature
contained clarification that he had “permission to sign on Debtor(s)’ behalf”.


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Debtor’s placed her initials next to the POA provision in the Engagement Letter.

      The Court is extremely concerned by the Cohen Firm’s implementation of a

“representation without explanation” escape hatch provision in their form

engagement letter because that practice invites abuse, as happened here. The Court

can envision very limited, highly fact-specific situations in which filing documents on

an expedited basis without a wet-ink signature might be appropriate, but those

situations ought to be few and far between.

      The purported exigency here, however, was nothing more than the necessity of

filing an amended plan after the Chapter 13 Trustee indicated at a regular motion

calendar that the prior plan was not confirmable. This sort of situation is an entirely

predictable, routine occurrence in chapter 13 practice.

      Local Rule 9011-1(C) requires counsel to obtain the client’s express consent to

the substance of the document before filing it. It does so for a reason. Although it is

at least conceivable that unique exigencies may require an expedited filing, no

situation should surpass the essential requirement of communication with a client

and receipt of express consent to act on behalf of that client. And, to turn the

perspective around a bit, the requirement that an attorney seek written consent

protects all involved, including the attorney. Possession of the client’s signature

demonstrates that the filing attorney has functioned as the client’s representative

rather than usurping the client’s role as decision-maker.

      Additional Considerations

      At the Show Cause Hearing, Cohen clarified that his firm typically obtains



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client consent prior to filing a document. Cohen further stated that although Cohen

was listed as the signatory on the Amended Plan, Arthur was the attorney

responsible for filing it. Cohen could not explain way Arthur did not follow the Cohen

Firm’s usual practice of obtaining prior client consent.

      Cohen also could not explain why he failed to read In re Quarterman and In re

Campbell prior to the Show Cause Hearing or provide the Court with case law support

for his methodology of calculation of Debtor’s household income.

      Finally, the Court would be remiss if it didn’t acknowledge one point that local

practitioners will be sure to raise: chapter 13 practice is, for most attorneys, a high-

volume practice. It requires attorneys to be efficient, effective advocates, and it can

be difficult to manage all possible details for each case. The Court is aware of the

challenges and demands of chapter 13 practice. That being said, the Local Rules and

concepts of professional responsibility apply to all attorneys, regardless of their

chosen practice area. Engaging in a volume practice does not entitle any attorney to

neglect their basic duties as advocates for their clients.

                                   CONCLUSION

      The attorneys at the Cohen Firm failed to undertake a satisfactory analysis in

calculating the extent to which Debtor’s husband’s income was to be included in the

calculation of Debtor’s current monthly income. Merely including two of Debtor’s

spouse’s monthly expenses to compute the marital adjustment in the SMI was clearly

insufficient, particularly in light of Debtor’s concerns that the calculation did not




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properly reflect her husband’s net income and non-household expenses.12 The Court

concludes that Arthur, Cohen, and the Cohen Firm failed to properly represent

Debtor by filing the Amended Plan without Debtor’s authorization.13

       Having arrived at this conclusion, the Court believes that the actions and

omissions in this Bankruptcy Case warrant the imposition of compensatory and

coercive sanctions under 11 U.S.C. § 105 to ensure that Arthur, Cohen, and the Cohen

Firm do not repeat their mistakes.14 Accordingly, for the foregoing reasons as well as

those stated on the record at the Show Cause Hearing, it is ORDERED that:

       1. Cohen and the Cohen Firm are SANCTIONED in the amount of $2,875.95

           (the “Sanction”), which represents disbursements that the chapter 13

           trustee paid to Cohen and the Cohen firm under the Amended Plan for legal

           services rendered to Debtor.

       2. Cohen and the Cohen Firm are DIRECTED to pay the Sanction to Debtor

           within 10 days of the date of entry of this Order. Cohen shall file proof of

           such payment upon the docket in this Bankruptcy Case.




12The SMI calculation errors are glaring. Item 13 failed to account for normal and customary payroll
deductions to Debtor’s spouse’s monthly gross income. The only adjustments listed are the non-filing
spouse’s car payment and a minimum credit card payment. Yet, Cohen acknowledged at the Show
Cause Hearing that the marital adjustment should have accounted for all of the expenses Debtor’s
spouse regularly paid that were not for household expenses.

 The Court ultimately dismissed Debtor’s case for failure to keep up with plan payments. See ECF
13

No. 53.
14In bankruptcy proceedings, 11 U.S.C. § 105(a) provides a bankruptcy court with power to “issue any
order, process, or judgment that is necessary or appropriate to carry out the provisions of this title.”
11 U.S.C. § 105; Jove Eng'g, Inc. v. I.R.S., 92 F.3d 1539, 1546 (11th Cir. 1996) (citing Glatter v. Mroz
(In re Mroz), 65 F.3d 1567, 1571-72 (11th Cir. 1995)).


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      3. Cohen and the Cohen Firm are authorized to retain only the $1,000

         prepetition retainer.

      4. Both Cohen and Arthur are each directed to take and complete five hours

         of continuing legal education courses in the area of bankruptcy or ethics

         within ninety (90) days of the date of this order. No later than fourteen (14)

         days after the date of completion of the courses, Cohen and Arthur must

         each file a notice certifying their attendance at the courses on the docket of

         this Bankruptcy Case. Cohen and Arthur must concurrently send a copy of

         such certification to MAM_Chambers@flsb.uscourts.gov.

      5. To the extent that Arthur wishes to request a separate evidentiary hearing

         for the Court to reconsider his role in this Bankruptcy Case and/or the

         Court’s imposition of sanctions pursuant to this Order, Arthur must file an

         appropriate motion within ten (10) days of entry of this Order.

      6. The Court reserves jurisdiction over all matters arising from or relating to

         the implementation of this Order.

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Copies to:

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